    Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 1 of 15 PageID# 650



               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA

                            Alexandria Division


UNITED STATES,                        )
                                      )
              v.                      )
                                      )
WILLIAM DANIELCZYK, Jr., &            )       1:11cr85 (JCC)
EUGENE BIAGI,                         )
                                      )
        Defendants.                   )


                    M E M O R A N D U M          O P I N I O N

              The issue before the Court is whether, in the wake of

Citizens United v. FEC, 130 S. Ct. 876 (2010), Defendants can be

charged with directing corporate money to a political campaign.

Finding that Citizens United precludes such charges, on May 26,

2011, this Court dismissed Count Four and Paragraph 10(b) of the

Indictment.        [Dkts. 60, 62.]    Following that decision, because

this Court “owes no deference to itself”1 and can correct its own

opinions, this Court requested additional briefing and argument

as to whether, in light of FEC v. Beaumont, 539 U.S. 146 (2003),

and Agostini v. Felton, 521 U.S. 203 (1997), this Court should

reconsider its ruling.        [Dkt. 63.]        The Government

contemporaneously moved for reconsideration on the same grounds.

[Dkt. 68.]


1
  Vosdingh v. Qwest Dex, Inc., No. Civ. 03-4284, 2005 WL 1323007, at *1 (D.
Minn. Jun. 2, 2005).


                                          1
    Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 2 of 15 PageID# 651



              Having considered the positions of parties and amici,

this Court will deny the Government’s motion except to clarify

that 2 U.S.C. § 441b(a)’s flat ban on direct corporate

contributions to political campaigns is unconstitutional as

applied to the circumstances of this case, as opposed to being

unconstitutional as applied to all corporate donations.2

                                  I. Analysis

              The Government alleges that Mr. Danielczyk, as

Chairman of Galen Capital Group, LLC, and Galen Capital

Corporation (together, “Galen”), and Mr. Biagi, as a Galen

executive, subverted federal campaign contribution laws by

reimbursing their employees’ costs of attending two fundraisers

Mr. Danielczyk co-hosted for Hillary Clinton’s 2006 Senate and

2008 Presidential campaigns.          Count Four of the Indictment [Dkt.

1] charges Defendants with directing contributions of corporate

money to Hillary Clinton’s 2008 Presidential Campaign in

violation of 2 U.S.C. § 441b(a) of the Federal Election Campaign

Act of 1971 (“FECA”), which prohibits direct corporate

contributions to federal campaigns.3

              Defendants claim that, under the logic of Citizens

United, the corporate direct donations ban violates the First

2
   Although this Court is denying the Government’s motion, to the extent there
is any inconsistency between this Memorandum Opinion and Part C of the
Court’s May 26, 2010 Memorandum Opinion [Dkt. 60], this Opinion supersedes
Part C.
3
  This alleged corporate donation is also listed in Count One, Paragraph 10(b),
as an object of Defendants’ alleged conspiracy under 18 U.S.C. § 371.


                                        2
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 3 of 15 PageID# 652



Amendment and that Count Four and Paragraph 10(b) must therefore

be dismissed.    The Government responds that Citizens United’s

ruling is limited to independent political expenditures, as

opposed to direct campaign contributions, and that the

constitutionality of the corporate direct donations ban is a

settled question under FEC v. Beaumont, 539 U.S. 146 (2003).

           To review, Citizens United involved a nonprofit

corporation that produced a highly critical film about Hillary

Clinton during her 2008 presidential campaign.          Because the film

was in effect “a feature-length narrative advertisement that

urges viewers to vote against Senator Clinton,” it was subject

to 2 U.S.C. § 441b’s provision barring corporations or unions

from making independent expenditures as defined by 2 U.S.C. §

431(17) or expenditures for “electioneering communications” as

defined by 2 U.S.C. § 431(f)(3).         The Supreme Court held the ban

unconstitutional because it found that independent expenditures

do not trigger the government’s interest in preventing quid pro

quo corruption or its appearance.

           This ruling stemmed largely from the Supreme Court’s

opinions in Buckley v. Valeo, 424 U.S. 1 (1976), and First

National Bank of Boston v. Bellotti, 435 U.S. 784 (1978).

Buckley involved FECA’s limits on direct campaign contributions

and on independent election-related expenditures.          Dealing first

with direct contribution limits, the Court found a “sufficiently


                                     3
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 4 of 15 PageID# 653



important” government interest in “the prevention of corruption

and the appearance of corruption” that justified limiting the

amount a person could contribute to a federal campaign.           Id. at

25.   The Court was concerned that large direct contributions,

i.e., those above the limits, could be used “to secure a

political quid pro quo.”      Id.    But the Court found less quid pro

quo risk for independent expenditure limits “because [of] the

absence of prearrangement and coordination” between the donor

and any specific candidate.         Id. at 47-48.

             Importantly, because of the strong government interest

in preventing quid pro quo corruption or its appearance, Buckley

permitted FECA’s limits on direct contributions even though

those limits implicate fundamental First Amendment interests.

Id. at 23.    It follows that contributions within FECA’s limits

do not create a risk of quid pro quo corruption or its

appearance--indeed, that is the point of the limits.           Id. at 25.

             Two years after Buckley, the Supreme Court in Bellotti

considered a Massachusetts ban on corporate contributions or

expenditures to influence the outcome of any state referendum.

On one hand, the Court explicitly declined to rule on the

constitutionality of the ban.         Id. at 787 n.26.   On the other

hand, the Court stated that the identity of a corporation as

“speaker,” especially in the context of political speech, is of




                                       4
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 5 of 15 PageID# 654



no consequence to the First Amendment protection its speech is

afforded.    Id. at 784-85.

            The Supreme Court seized on the latter point in

Citizens United, linking it with Buckley to strike down a ban on

independent corporate expenditures.        The Court’s logic was that,

because Buckley found that independent contributions by

individuals do not corrupt, and because Bellotti’s “central

principle” was that “the First Amendment does not allow

political speech restrictions based on a speaker’s corporate

identity,” 130 S. Ct. at 903, corporations cannot be banned from

making the same independent expenditures as individuals, id. at

899-903.

            That logic remains inescapable.       If human beings can

directly contribute within FECA’s limits without risking quid

pro quo corruption or its appearance, and if “the First

Amendment does not allow political speech restrictions based on

a speaker’s corporate identity,” Citizens United, 130 S. Ct. at

903, then corporations like Galen must be able to do the same.

            Despite Citizens United, the Government argues that

this Court is compelled by the Supreme Court’s ruling in FEC v.

Beaumont to apply § 441b in this case.        The Eighth Circuit

recently took the same view in Minnesota Citizens Concerned for

Life, Inc. v. Swanson, No. 10-3126, --- F.3d ----, 2011 WL

1833236 (8th Cir. May 16, 2011).         Swanson involved a challenge


                                     5
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 6 of 15 PageID# 655



under Citizens United to a Minnesota law banning direct

corporate campaign contributions.        The Eighth Circuit read

Beaumont as holding that “the government could prohibit even

non-profit, advocacy corporations from making direct

contributions.”    Id. at *10.     The Swanson court reasoned that

Beaumont is “controlling precedent” for the constitutionality of

the corporate contributions ban and that Beaumont must therefore

be applied, even if Citizens United seemed to overrule Beaumont

by implication.    Id. at *10-11.     The Eighth Circuit’s reasoning

is persuasive but not controlling in this Circuit, and this

Court reaches a different conclusion for the reasons explained

below.

           This Court is bound to apply controlling Supreme Court

precedent, even where later Supreme Court rulings erode that

precedent’s logical underpinnings.        Agostini v. Felton, 521 U.S.

203, 237 (1997) (“We do not acknowledge, and we do not hold,

that other courts should conclude our more recent cases have, by

implication, overruled an earlier precedent.         We reaffirm that

if a precedent of this Court has direct application in a case,

yet appears to rest on reasons rejected in some other line of

decisions, the Court of Appeals should follow the case which

directly controls, leaving to this Court the prerogative of

overruling its own decisions.”) (internal quotation marks and

alteration omitted).     In other words, a lower court cannot reach


                                     6
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 7 of 15 PageID# 656



a result that would require overruling a Supreme Court case.

Still, while there is no question that this Court must apply

directly controlling Supreme Court precedent, there is a

question of whether Beaumont “directly controls” this case.

Close examination of Beaumont shows that it does not.

           Beaumont involved a First Amendment challenge by North

Carolina Right to Life, Inc. (“NCRL”), a nonprofit advocacy

corporation, against § 441b and the regulations implementing it

“only so far as they apply to NCRL.”        539 U.S. at 150 (emphasis

added).   The Supreme Court found § 441b constitutional as

applied to nonprofit advocacy corporations but made only

assumptions as to its general constitutionality.          Indeed, it is

clear from Beaumont’s second sentence that its holding is

explicitly limited to nonprofit advocacy corporations:

            We hold that applying the prohibition to
            nonprofit advocacy corporations is
            consistent with the First Amendment.

Id. at 149 (emphasis added).

           Describing the case’s history, the Court noted that

“[t]he District Court granted summary judgment to NCRL and held

§ 441b unconstitutional as applied to the corporation,” id. at

150 (emphasis added), and that “the Court of Appeals went on to

hold the ban on direct contributions likewise unconstitutional

as applied to NCRL,” id. (emphasis added).




                                     7
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 8 of 15 PageID# 657



           The Court then assumed--but never held--that the

extensive “historical prologue [behind § 441b] would discourage

any broadside attack on corporate campaign finance” (in a pre-

Citizens United world, of course).        Because of this historical

prologue, the Court next noted that “NCRL accordingly questions

§ 441b only to the extent the law places nonprofit advocacy

corporations like itself under the general ban on direct

contributions.”    Id. at 156 (emphasis added).        The Court went on

to list a number of reasons for banning direct contributions

from nonprofit advocacy corporations, id. at 159-60, and to

consider whether nonprofit advocacy corporations deserve

constitutional exemption from § 441b, id. at 163, before

ultimately reversing the Fourth Circuit’s decision below, id.

           Beaumont’s holding, upholding the constitutionality of

§ 441b’s ban on direct contributions from nonprofit advocacy

corporations, certainly can be logically extended to support §

441b’s ban on all corporate contributions.         “There is, however,

a difference between following a precedent and extending a

precedent.”    Jefferson Cnty. v. Acker, 210 F.3d 1317, 1320 (11th

Cir. 2000).    “The difference, as it relates to a lower court’s

duty to follow moribund Supreme Court decisions, is manifest in

the words ‘which directly controls’ [from Agostini].”           Id.

“[I]f the facts of a gravely wounded Supreme Court decision do

not line up closely with the facts before us--if it cannot be


                                     8
 Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 9 of 15 PageID# 658



said that decision ‘directly controls’ this case--then we are

free to apply the reasoning in later Supreme Court decisions to

the case at hand.”     Id.; see also, e.g., Lambrix v. Singletary,

520 U.S. 518, 529 n.3 (1997) (“While . . . two cases can be

called ‘controlling authority’ in the sense that the two

propositions they established . . . were among the ‘givens’ from

which any decision in [the later case] had to be derived, they

assuredly were not ‘controlling authority’ in the sense we

obviously intend: that they compel the outcome in [that later

case].”) (emphasis added); United States v. Acosta, 502 F.3d 54,

60 (2d Cir. 2007) (stating that, where “neither [of two Supreme

Court cases], stands as direct precedent requiring” an outcome,

“no Supreme Court precedent stands in the way of [the Second

Circuit’s] holding”); United States v. Bruno, 487 F.3d 304, 306

(5th Cir. 2007) (stating that because two Supreme Court cases

“are not direct precedents . . . [the cases] do not preclude

[the Fifth Circuit] from” its holding because “[i]n neither did

the [Supreme] Court analyze the precise question [a later case]

squarely addressed”).

           Beaumont’s facts and holding do not compel an outcome

in this case.    Simply put, Beaumont expressly “h[e]ld that

applying [§ 441b] to nonprofit advocacy corporations is




                                     9
    Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 10 of 15 PageID# 659



consistent with the First Amendment.”            539 U.S. at 149.4

Defendants’ corporation--Galen--is not a nonprofit advocacy

corporation.5       Beaumont therefore did not hold that § 441b is

constitutional as applied to this case and is therefore not

“directly controlling” here for Agostini purposes.

               Beaumont remains good law, but it does not directly

control the issue at hand: whether the corporate contributions

ban is constitutional as applied to Defendants’ for-profit

corporation.       Beaumont is no different from Citizens United in

that neither case’s holding “directly controls” this case,

though both cases’ analyses are strongly implicated by it.

Beaumont’s reasoning can still inform this Court’s analysis, but

only so far as the Court can square Beaumont with the Supreme

Court’s more recent decision in Citizens United.              And, following

Citizens United, Beaumont’s reasoning is no longer viable on

several fronts.




4
  The Government agreed in Open Court that Beaumont was an “as applied”
ruling, but argued that Beaumont is necessarily implicated in this case.
5
  The Government argued in Open Court that Defendants’ assertion that Beaumont
does not apply to Galen is like ConAgra Foods arguing that the Supreme
Court’s landmark Commerce Clause case, Wickard v. Filburn, 317 U.S. 111
(1942), applied only to the individual wheat farmer in that case and not to a
large company like ConAgra. Among other reasons, that analogy fails in light
of Wickard’s plainly broad holding: “Even if [wheat farming] be local and
though it may not be regarded as commerce, it may still, whatever its nature,
be reached by Congress if it exerts a substantial economic effect on
interstate commerce.” Id. at 125 (emphasis added). This holding by its
terms would apply to ConAgra, whereas Beaumont’s holding, by its terms,
excludes Galen. Indeed, had Beaumont’s as-applied holding been closer to
Wickard’s holding, for example by addressing corporations “whatever [their]
nature,” it would directly control this case.


                                        10
Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 11 of 15 PageID# 660



           First, Beaumont relies significantly on Austin v.

Michigan Chamber of Commerce, 494 U.S. 652 (1990), which the

Supreme Court explicitly overruled in Citizens United, 130 S.

Ct. at 913.   Second, Beaumont cites Congress’s concern for

preventing corruption and its appearance, 539 U.S. at 154-55, a

worry again foreclosed here by Citizens United’s ruling that

corporations have equal political speech rights to individuals,

who can directly contribute within FECA’s limits without risking

corruption or its appearance.      Third, though Beaumont notes that

the ban protects individuals who have paid money into a

corporation from having that money used to support candidates

they may oppose, id. at 154, Citizens United dismisses this

problem too, stating that shareholders can address it “through

the procedures of corporate democracy,” 130 S. Ct. at 911.

           Finally, both Beaumont and the Government cite fears

that corporations could be used to hide conduit (or “pass-

through”) contributions by those wishing to circumvent

individual contribution limits.       539 U.S. at 155.     For instance,

an individual wanting to donate more money than the law allows

could incorporate a number of corporations and use the

corporations as fronts for her own contributions to a candidate.

This sort of behavior already is illegal under the same campaign

finance laws used to bring this very case: 2 U.S.C. § 441f,

making it illegal to “make a contribution in the name of another


                                    11
    Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 12 of 15 PageID# 661



person6,” and 18 U.S.C. § 1001, making it illegal to “make[] any

false, fictitious, or fraudulent statement or representation” to

the Government, as discussed at length in this Court’s May 26,

2011 Memorandum Opinion.         See also McConnell v. FEC, 540 U.S.

93, 136-38 (2003).        The FEC moreover seems capable of addressing

such concerns through rules like those it already uses for

unincorporated entities such as partnerships and limited

liability companies (“LLCs”), which attribute their

contributions to partners’ or members’ individual contribution

limits.      See 11 C.F.R. §§ 110.1(e), (g) (regulating,

respectively, partnerships and LLCs).            Regardless, this concern

does not permit this Court to escape the logical implications of

Citizens United, which are clear.

               This Court has little choice between Beaumont’s now-

“gravely wounded” reasoning and that of the case that struck the

blow: Citizens United.         Again, for better or worse, Citizens

United held that the First Amendment treats corporations and

individuals equally for purposes of political speech.                130 S.

Ct. at 913.       This leaves no logical room for an individual to be

able to donate $2,500 to a campaign while a corporation like

Galen cannot donate a cent.          Thus, as applied here, § 441b(a) is

unconstitutional.



6
  As discussed below, a “person” is defined in FECA as including a
“corporation,” among other things. See 2 U.S.C. § 431(11).


                                        12
    Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 13 of 15 PageID# 662



               This finding does not, as the Government argued,

“equat[e] apples and oranges”7 by equating independent

expenditures with direct contributions.            Taken seriously,

Citizens United requires that corporations and individuals be

afforded equal rights to political speech, unqualified.               130 S.

Ct. at 913 (“We return to the principle established in Buckley

and Bellotti that the Government may not suppress political

speech on the basis of the speaker’s corporate identity.”).

Thus, following Citizens United, individuals and corporations

must have equal rights to engage in both independent

expenditures and direct contributions.            They must have the same

rights to both the “apple” and the “orange.”

               To be clear, this Court is well aware of its duty to

follow Supreme Court precedent, and it does not purport to

overrule Beaumont.8        Beaumont remains good law, and the

prerogative remains with the Supreme Court to overrule Beaumont

(or to overrule or limit Citizens United) should it so choose.

Agostini, 521 U.S. at 237.          This Court moreover again recognizes

that it must strive to avoid rendering constitutional rulings




7
  Government’s Omnibus Response to Defendant’s Motion to Dismiss [Dkt. 37] at
33.
8
  Indeed, although Defendants argue compellingly that the Government waived
this issue by failing to argue on the motions to dismiss that Beaumont
forecloses a constitutional challenge to § 441b as applied to this case,
Defendants also acknowledge that this Court retains discretion to consider
the issue. This Court chooses to exercise that discretion here to ensure
that its ruling conforms to controlling Supreme Court precedent.


                                        13
Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 14 of 15 PageID# 663



except where absolutely necessary.       Ashwander v. Tenn. Valley

Auth., 297 U.S. 288, 347 (1936).

             This Court simply reads Beaumont’s holding for what

it says: “[w]e hold that applying the prohibition to nonprofit

advocacy corporations is consistent with the First Amendment.”

539 U.S. at 149.    Galen is not a nonprofit advocacy corporation,

so Beaumont informs but does not directly control this case.

Had Beaumont held that “applying the prohibition to nonprofit

advocacy corporations is consistent with the First Amendment,”

this Court would follow it, despite its logical inconsistency

with the later-decided Citizens United.        But because that is not

what Beaumont held, the Court is left with two persuasive

decisions, one more recent than the other.

             It is also worth repeating something else this Court

is not doing.    Even if applied to all corporations, this Court’s

holding hardly gives corporations a blank check (so to speak) to

directly contribute unlimited amounts of money to federal

campaigns.    Rather, corporations would be immediately subject to

the same contribution limits as individuals, under 2 U.S.C. §

441a(a), which sets limits on contributions from a “person,” and

2 U.S.C. § 431(11), which defines the term “person” as it is

used in FECA as “includ[ing] an individual, partnership,

committee, association, corporation, labor organization, or any

other organization or group of persons.” (emphasis added).


                                    14
Case 1:11-cr-00085-JCC Document 73 Filed 06/07/11 Page 15 of 15 PageID# 664



Meanwhile, corporations can make unlimited independent political

expenditures because of Citizens United, 130 S. Ct. at 913, and

can form political action committees (“PACs”) to facilitate

corporate political participation far beyond any personal

contribution limit, see Beaumont, 539 U.S. at 163 (discussing

PACs).   In other words, as a practical matter, this Court’s

ruling adds a small drop to what is already a very large bucket.

                            II.   Conclusion

             For these reasons, the Court will deny reconsideration

except to clarify its May 26, 2011 ruling to state that 2 U.S.C.

§ 441b(a)’s flat ban on direct corporate contributions to

political campaigns is unconstitutional as applied to the

circumstances of this case, as opposed to being unconstitutional

as applied to all corporate donations.         Accordingly, Count Four

and Paragraph 10(b) of Count One of the Indictment will remain

dismissed.

             An appropriate Order will issue.



                                          /s/
June 7, 2011                        James C. Cacheris
Alexandria, Virginia        UNITED STATES DISTRICT COURT JUDGE




                                    15
